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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                               Alexandria Division


  MATEUSZ FIJALKOWSKI,
      Plaintiff,

                    V.                                                     Civil Action No. l:18-cv-00492


  M.WHEELER,et al..
           Defendants.




                                         MEMORANDUM OPINION


          This case arises from a somewhat bizarre and nearly tragic set ofevents. Plaintiff, a citizen

 and resident ofPoland,claims Officers Wheeler, Adcock,Blakely, Bronte-Tinkew, Clark, Grande,

 Jakowicz, Labarca, McNaught, Mulhem, and Zesk ("the police defendants") are liable for

 violating plaintiffs Fourteenth and Fourth Amendment rights pursuant to 42 U.S.C. § 1983^ and

 for gross negligence under Virginia law. Plaintiff also brings a claim of negligence against

 defendants Brooks, a lifeguard and plaintiffs former co-worker, and American Pool Inc.,

 plaintiffs former employer("the pool defendants"). The police defendants and the pool defendants

 have each moved to dismiss plaintiffs Complaint on a variety of grounds.

          At issue on defendants' motions to dismiss are the following questions:

              (i) Are the police defendants entitled to qualified immunity with respect to plaintiffs
                  Fourteenth Amendment claim brought pursuant to § 1983?
                   Put differently, did the police defendants violate plaintiffs "clearly established"
                   substantive due process rights by preventing a lifeguard from taking timely steps to
                   rescue plaintifffrom drowning himself?
              (ii) Did the police defendants violate plaintiffs substantive due process rights by their
                   own failure to prevent plaintifffrom drowning himself?



'Plaintiffrepresented in his opposition to the police defendants' motion to dismiss that plaintiff consents to the
 dismissal ofthe due process claim alleged in Count II because it is duplicative of Counts I and III, which also allege
 due process claims. Mem.in 0pp. to Mot. to Dismiss Police Defs. at 1 (ECF No. 24).

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